       Case 6:23-cv-06025-FPG-MWP Document 13-12 Filed 03/06/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK


  LETICIA LEE,
                                                                  Case No. 6:23-cv-06025
           Plaintiff,
                                                                  Removed From:
  v.
                                                                  Supreme Court of the State of New
  WARNER MEDIA, LLC; HBO HOME                                     York, County of Ontario
  ENTERTAINMENT, INC.; WARNER BROS.                               Index No.: 134539-2022
  WORLDWIDE TELEVISION DISTRIBUTION
  INC.; NBC UNIVERSAL TELEVISION
  STUDIO DIGITAL DEVELOPMENT LLC; CBS
  BROADCASTING INC.; GRAMMNET NH
  PRODUCTIONS,

  Defendants.


                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of March, 2023, true and correct copies of the foregoing

Notice of Motion to Dismiss, Memorandum of Law in Support of Defendants’ Motion to Dismiss,

Declaration of Elizabeth A. McNamara and all exhibits annexed thereto, Notice of Manual Filing,

and true and correct copies of unpublished decisions cited therein pursuant to L.R. 7(a)(8), filed

electronically through the Court’s CM/ECF system, were mailed via overnight Federal Express to

Plaintiff LeTicia Lee at the following address:

                        LeTicia Lee
                        1335 Jefferson Rd #20711
                        Rochester, NY 14602


Dated: March 6, 2023                              DAVIS WRIGHT TREMAINE LLP
                                                  ELIZABETH A. MCNAMARA

                                                  By: /s/ Elizabeth A. McNamara
                                                  Elizabeth A. McNamara (N.Y. Bar No. 1930643)
Case 6:23-cv-06025-FPG-MWP Document 13-12 Filed 03/06/23 Page 2 of 2




                                1251 Avenue of the Americas, 21st Floor
                                New York, New York 10020
                                Telephone: (212) 603-6437
                                Email: lizmcnamara@dwt.com

                                Meenakshi Krishnan (pro hac vice application
                                forthcoming)
                                1301 K Street NW, Suite 500
                                Washington, D.C. 20005
                                Telephone: (202) 510-5204
                                Email: meenakshikrishnan@dwt.com

                                Attorneys for Defendants Warner Media, LLC;
                                HBO Home Entertainment, Inc.; Warner Bros.
                                Worldwide Television Distribution Inc.; NBC
                                Universal Television Studio Digital Development
                                LLC; CBS Broadcasting Inc.; and Grammnet NH
                                Productions
